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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 Leila Cruz,                                               Civil No. 20-2113 (DWF/DTS)

                       Plaintiff,

 v.                                                                             ORDER

 Best Buy, et al.,

                       Defendants.


       The above matter comes before the Court upon the Report and Recommendation

of United States Magistrate Judge David T. Schultz dated January 12, 2021 (Doc. No. 5).

No objections have been filed to that Report and Recommendation in the time period

permitted. Based on the Report and Recommendation of the Magistrate Judge and upon

all the files, records, and proceedings herein, the Court now makes and enters the

following:

                                         ORDER

       1.      Magistrate Judge Schultz’s January 12, 2021 Report and Recommendation

(Doc. No. [5]) is ADOPTED.

       2.       This case is properly TRANSFERRED to the United States District Court

for the District of Colorado pursuant to 28 U.S.C. § 1406(a).

       3.      The Clerk of Court shall TRANSFER this case to the United States District

Court for the District of Colorado consistent with this order.
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      LET JUDGMENT BE ENTERED ACCORDINGLY.


Dated: January 29, 2021            s/Donovan W. Frank
                                   DONOVAN W. FRANK
                                   United States District Judge




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